                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: John Thomas Lacik                          )           Case No.: 17-81630-CRJ-11
       SSN: xxx-xx-9376                           )
                                                  )
       Lisa Elaine Lacik                          )
       SSN: xxx-xx-1278                           )
                                                  )
               Debtors.                           )           Chapter 11


                    ORDER APPROVING APPLICATION FOR FINAL
                     APPROVAL OF DEBTORS’ ATTORNEY FEES

       This matter came before the Court for hearing upon the Debtors’ Application for Final
Approval of Attorney Fees filed on August 15, 2018 (Doc. 166). After proper notice, a hearing
was held on September 5, 2018 with appearances by Tazewell T. Shepard IV on behalf of the
Debtors and Richard M. Blythe on behalf of the Bankruptcy Administrator.

       Upon consideration of the pleadings, and in light of the representations of the parties at the
hearing, by the Court it is

       ORDERED, ADJUDGED and DECREED that the Debtors’ Application for Final
Approval of Attorney Fees in the amount of $23,272.00 and reimbursement of expenses totaling
$1,056.74 is hereby APPROVED.

Dated this the 6th day of September, 2018.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge



Prepared by:
Tazewell T. Shepard IV
Attorney to Debtors




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